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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF NEW YORK

  Diane T. Clarke, et al.

                                     Plaintiffs,
                                                                             2:23-cv-8869
                            -v-                                              (NJC) (ARL)

  The Association of Legal Aid Attorneys, Amalgamated
  Local Union 2323 of the International Union, United
  Automobile, Aerospace and Agricultural Implement Workers
  of America (UAW), AFL-CIO, et al.,

                                    Defendants.


                                    MEMORANDUM AND ORDER

 NUSRAT J. CHOUDHURY, District Judge:

        Pending before the Court is Defendants’ Motion to Dissolve the Temporary Restraining

 Order (TRO) issued by the Supreme Court of Nassau County prior to removal of this action to

 this Court. ECF Nos. 5–7. The Court ordered Plaintiffs to respond to Defendants’ Motion by

 today, December 12, 2023, at 5:00pm, and scheduled a hearing for December 13, 2023 at

 4:00pm. Min. Entry Scheduling Order Dec. 8, 2023. Plaintiffs have since requested an extension

 of time to file their response until December 13, 2023 at 5:00 p.m. and an adjournment of the

 hearing date until December 14 or 15, 2023. Pls.’ Mot. Extension, ECF No. 16. Defendants

 oppose that request. Defs.’ Opp’n Extension, ECF No. 17. The parties dispute whether the state

 court order at issue is a temporary restraining order that is indefinite or one that will expire in

 fourteen (14) days under Rule 65(b) of the Federal Rules of Civil Procedure. Min. Entry

 Scheduling Order Dec. 8, 2023; see also Letter Defs, Dec. 8, 2023, ECF No. 11 at 2.

        The Court has reviewed the transcript of the November 21, 2023 hearing on Plaintiffs’

 request for a TRO before Justice Felice Muraca of the Supreme Court of Nassau County. See
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 Nov. 21, 2023 Hr’g Tr., Clarke v. Ass’n Legal Aid Attorneys, Amalgamated Loc. Union 2323

 Int’l Union, United Auto., Aerospace, Agricultural Implement Workers Am. (UAW), AFL-CIO, et

 al., Index No. 618764/2023. It is clear from the transcript that Justice Muraca continued the TRO

 on the record. Justice Muraca stated:

        As far as today is concerned, the TRO will continue until such time as a decision is
        issued by this court. I am going to set a control date 35 days from today. I expect
        to have my decision within the statutory prescribed 30-day period. So the TRO
        remains in effect. . . . That constitutes the decision and order of this court today.

 Id. 47:17–19, 24–25 (emphasis supplied). Thus, on December 1, 2023, when Defendants

 removed the action to this Court, see Not. Removal, ECF No. 1, the state court order in effect

 was a temporary restraining order.

        Under the Federal Rules of Civil Procedure, where a state court entered a TRO in a case

 that was subsequently removed to federal court, the TRO expires by operation of law at the latest

 fourteen (14) days after removal. See Fed. R. Civ. P. 65(b)(2) (“The order expires at the time

 after entry—not to exceed 14 days—that the court sets, unless before that time the court, for

 good cause, extends it for a like period or the adverse party consents to a longer extension.”);

 Granny Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck Drivers Loc. No. 70 of Alameda

 Cnty., 415 U.S. 423, 439–40 (1974) (“An ex parte temporary restraining order issued by a state

 court prior to removal remains in force after removal no longer than it would have remained in

 effect under state law, but in no event does the order remain in force longer than the time

 limitations imposed by Rule 65(b), measured from the date of removal.”); Carrabus v.

 Schneider, 111 F. Supp. 2d 204, 211 (E.D.N.Y. 2000) (duration of a TRO entered by a New

 York state court “will be cut back to the [applicable period under the Federal Rules] when the

 case is removed, measured from the removal itself.”) (citation omitted). The Second Circuit has

 made clear that there is no authority for an indefinite temporary restraining order in federal court.


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 See Pan American World Airways, Inc. v. Flight Engineers’ Int’l Assn., 306 F.2d 840, 842 (2d

 Cir. 1962) (“The fact that notice is given and a hearing held cannot serve to extend indefinitely

 beyond the period limited by [Rule 65(b)] the time during which a temporary restraining order

 remains effective. The statute contemplates that notice and hearing shall result in an appropriate

 adjudication, i.e., the issuance or denial of a preliminary injunction, not in extension of the

 temporary stay.”) (citations omitted); Carrabus, 111 F. Supp. 2d at 210–211 (applying Rule

 65(b) to a TRO issued prior to removal by a state court after a hearing where both parties were

 present). “[O]nce a case has been removed to federal court, it is settled that federal rather than

 state law governs the future course of proceedings, notwithstanding state court orders issued

 prior to removal.” Granny Goose Foods, Inc., 415 U.S. at 437; see Lapa v. JP Morgan Chase

 Bank, N.A., No. 21 CIV. 04737 (NSR), 2022 WL 3290677 (S.D.N.Y. Aug. 11, 2022) (granting

 defendant’s motion to dissolve TRO entered by state court prior to removal because the TRO did

 not comply with Rule 65(b)).

        Having clarified the nature of the order that is the subject of the parties’ dispute, the

 Court grants Plaintiffs’ request for an extension of time. Accordingly, Plaintiffs’ response to

 Defendants’ Motion to Dissolve the TRO is due by December 13, 2023 at 5 p.m. If Plaintiffs

 raise any challenges to subject matter jurisdiction issues in that submission, Defendants’ reply

 will be due by December 14, 2023 at 2 p.m. The hearing on the motion is re-scheduled to

 December 15, 2023 at 10 a.m. in Courtroom 1040 in Central Islip.

 Dated: Central Islip, New York
 December 12, 2023
                                                ________/s Nusrat J. Choudhury_______
                                                      NUSRAT J. CHOUDHURY
                                                      United States District Judge




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